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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

  In re:                                             §
                                                     §        Case No. 23-10164-smr
  ASTRALABS, INC.,                                   §
                                                     §        Chapter 7
           Debtor.                                   §

                                 NOTICE OF STATUS CONFERENCE
                                     [Relates to Docket No. 242]

  TO ALL PARTIES IN INTEREST, PLEASE TAKE NOTICE THAT:

           A status conference (the “Status Conference”) has been scheduled to take place on

  August 30, 2023 at 10:00 a.m. (prevailing Central Time). The Status Conference is scheduled

  to proceed in-person 1 in the court room of Judge Shad M. Robinson at the U.S. Bankruptcy

  Courthouse located at Homer J. Thornberry Federal Judicial Building, 903 San Jacinto Blvd.,

  Third Floor, Courtroom 1, Austin, Texas 78701.

  Dated: August 18, 2023                                      Respectfully submitted,

                                                              By: /s/ Thanhan Nguyen
                                                                Jay H. Ong
                                                                Texas Bar No. 24028756
                                                                Thanhan Nguyen
                                                                Texas Bar No. 24118479
                                                                MUNSCH HARDT KOPF & HARR, P.C.
                                                                1717 West 6th Street, Suite 250
                                                                Austin, Texas 78703
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                                                                            anguyen@munsch.com

                                                              Counsel for Randolph N. Osherow,
                                                              Chapter 7 Trustee


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      Information on attending the hearing remotely by WebEx or telephone can be found on the Court’s website:
      https://www.txwb.uscourts.gov/honorable-shad-m-robinson-us-bankruptcy-judge.



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                                  CERTIFICATE OF SERVICE

          As expressly authorized by the Court and by his signature below, the undersigned hereby
  certifies that he personally caused to be served a true and correct copy of this document on the
  18th day of August 2023, via e-mail transmission upon the parties listed at Official Docket
  No. 244.

           The undersigned hereby further certifies that, on the 18th day of August 2023, he
  personally caused true and correct copies of the foregoing pleading to be served by electronically
  filing it with the Court using the Court’s CM/ECF system, which sent notification to the parties
  receiving same through such system:

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         Shanna M Kaminski on behalf of Interested Party Apex Funding Source, LLC
         skaminski@kaminskilawpllc.com

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         Ryan Lott on behalf of Creditor Athletes to Athletes, Inc.
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         Matthew Kelly, and Thomas Dolezal
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        Eric Terry on behalf of Trustee Eric Terry
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        Shane P. Tobin on behalf of U.S. Trustee United States Trustee - AU12
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        United States Trustee - AU12
        ustpregion07.au.ecf@usdoj.gov

                                                  By: /s/ Thanhan Nguyen
                                                         Thanhan Nguyen, Esq.




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